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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

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                                                               :   MDL Docket No. 1629
In re: NEURONTIN MARKETING,                                    :
         SALES PRACTICES AND                                   :   Master File No. 04-10981
         PRODUCTS LIABILITY LITIGATION                         :
                                                               :   Judge Patti B. Saris
---------------------------------------------------------------x
                                                               :   Magistrate Judge Leo T. Sorokin
THIS DOCUMENT RELATES TO:                                      :
                                                               :
Bulger v. Pfizer Inc, et al., 07-CV-11426-PBS                  :
                                                               :
Smith v. Pfizer Inc, et al., 05-CV-11515-PBS                   :
                                                               :
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                          DECLARATION OF SCOTT W. SAYLER, ESQ.

                 I, Scott W. Sayler, declare and state as follows:

        1.       I am a partner with the law firm of Shook, Hardy & Bacon LLP, counsel of record

for Pfizer Inc and Warner-Lambert Company LLC. I make this declaration based on my own

personal knowledge and information.

        2.       Attached as Exhibit 1 is a true and correct copy of the Curriculum Vitae of Sheila

Weiss Smith, Ph.D.

        3.       Attached as Exhibit 2 is a true and correct copy of the Expert Report of Sheila

Weiss, Ph.D. (December 20, 2007).

        4.       Attached as Exhibit 3 is a true and correct copy of Plaintiffs’ Motion to Exclude

the Testimony of Sheila Weiss Smith, Ph.D., filed January 23, 2009.

        5.       Attached as Exhibit 4 is a true and correct copy of excerpts from the deposition of

Sheila Weiss Smith, Ph.D. (December 22, 2008).




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         6.     Attached as Exhibit 5 is a true and correct copy of a letter from Dr. Russell Katz,

FDA to Manini Patel, Director of Worldwide Regulatory Affairs, Pfizer; Bates No.

NRE0009216746.

         7.     Attached as Exhibit 6 is a true and correct copy of the FDA Statistical Review and

Evaluation, Anti-Epileptic Drugs and Suicidality (May 23, 2008).

         8.     Attached as Exhibit 7 is a true and correct copy of excerpts of the transcript from

the July 10, 2008 FDA Advisory Committee meeting on antiepileptic drugs and suicidality.

         9.     Attached as Exhibit 8 is a true and correct copy of FDA’s “Guidance for Industry:

Good Pharmamcovigilance Practices and Pharmacoepidemiologic Assessment,” March 2005.

         10.    Attached as Exhibit 9 is a true and correct copy of excerpts from the deposition of

Cheryl Blume, Ph.D. (November 22 and 23, 2007).

         11.    Attached as Exhibit 10 is a true and correct copy of a letter from Michael

Wasicko, counsel for Pfizer defendants to Keith Altman, counsel for Plaintiffs (February 2,

2009).

         12.    Attached as Exhibit 11 is a true and correct copy of the expert report of Sheila

Weiss Smith, Ph.D. (November 4, 2008).

         I declare under penalty of perjury under the law of the United States of America that the

forgoing it true and correct.

         Executed on February 6, 2009, in Kansas City, Missouri.



                                                      _/s/Scott W. Sayler__________________
                                                      Scott W. Sayler, Esq.




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                               CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order #3 on February 6, 2009.

                                                   /s/ David B. Chaffin
                                                   David B. Chaffin




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